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                   UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                            Criminal No. 09-cr-140-08-JL

Michael Chartier


                                   O R D E R


        The assented to motion to reschedule jury trial (document no.

106) filed by defendant is granted.            The following deadlines apply

to all remaining defendants: Final Pretrial is rescheduled to

Monday, May 24, 2010 at 11:00 AM; Trial is continued to the two-

week period beginning Wednesday, June 2, 2010, 9:30 AM.

        The court finds that the ends of justice served by granting a

continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U.S.C. § 3161(h)(7)(B)(iv), for the

reasons set forth in the motion.

        SO ORDERED.



                                           _______________________________
                                           Joseph N. Laplante
                                           United States District Judge

Date:     May 3, 2010




cc:   Counsel of Record
      U.S. Marshal
      U.S. Probation
